70 F.3d 1281
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.WESTERN HERITAGE INSURANCE COMPANY, Plaintiff-Appellee,v.Jacob VILLALBA, Senaida Villalba, as individuals and doingbusiness as The Ponderosa Lounge, and Mahmoud A.Najdawi, Defendants-Appellants.andMahmoud A. Najdawi, Defendant.
    No. 94-16635.
    United States Court of Appeals, Ninth Circuit.
    Argued and Submitted Nov. 17, 1995.Decided Dec. 5, 1995.
    
      Before:  NORRIS, BEEZER and TROTT, Circuit Judges.
      ORDER*
      We reverse the district court's grant of summary judgment for Western Heritage and remand with instructions to dismiss Western Heritage's complaint for lack of jurisdiction.
      The district court exercised discretionary jurisdiction over the action pursuant to the Declaratory Judgment Act, 28 U.S.C. Sec. 2201.  We find, in accord with a decision rendered after the district court made its ruling, that there are no factors "present to warrant an exception to the general rule that the action belongs in state rather than federal court."  Employers Reinsurance Corp. v. Karussos, 65 F.3d 796, 799 (9th Cir.1995) (citation and internal quotation marks omitted).  We therefore reverse the grant of summary judgment and remand to the district court for further proceedings consistent with this order.
      REVERSED and REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a) and Ninth Circuit Rule 34-4
      
    
    